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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

Parks Pharrnacy, Inc.;
Demetrius Yvonne Parks,
the business name

of Parks Pharmacy, Inc.
d/b/a Parks Pharmacy #4

Plaintiffs,
Case No.

vs. 2:17-cv-00503-TFM

Cardinal Health 110, LLC,
Cardinal Health 112, LLC,
Leader Drugs Stores, Inc.,

W\J\.JWV\J\_JW\J\./\.J\_/\JV\_/VV

Defendants.

PLAINTIFFS’ AMENDED COMPLAINT

CGME NOW, the Plaintiffs, Parks Pharmacy, Inc. and Demetrius Yvonne Parks, by and
through the undersigned counsel, and hereby Hle the following complaint against Cardinal

Health 110, LLC; Cardinal Health 112, LLC; and Leader Drug Stores, Inc.
I. Venue

1. Venue is proper in Montgomery County, Alabama because the Defendants did business
in Montgomery County, Alabama and speciiically did business With the Plaintiffs in
Montgomery County, Alabama. In fact, the Defendants’ representative came to Montgomery
County, Alabama to solicit and entice Plaintiffs’ business. Also, the Defendants cite, as reason
for the cessation or termination of providing supplies to the Plaintiff, that certain events

occurred in Alabama, causing the Defendants to cease business with the Plaintiffs. Further, the

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primary causes of action asserted in this complaint, named (a) tortious interference with
business relations, and Cb) tortious interference with a contract, and (c) breach of contract
occurred primarily in Montgomery County, Alabama and many witnesses from Alabama will be

necessary in this litigation.
II. Parties

2. The Plaintiffs, Parks Pharmacy, Inc. and Demetrius Yvonne Parks, are residents of

Montgomery County, Alabama, and are hereinafter referred to jointly as “the Plaintiffs.”

3. The Defendants, Cardinal Health 110, LLC; Cardinal Health 112, LLC; and Leader Drug
Stores, Inc., are believed to be corporations or other business entities headquartered in Dublin,

Ohio, and hereinafter referred jointly to as “the Defendants.”
III. Facts

4. On or about May 2014, the Defendants, via a representative from Birmingham,

Alabama, came to Montgomery, Alabama to solicit business from the Plaintiffs.

5. The Plaintiffs soon appreciated how valuable, and eventually necessary, the medications
being offered for sale by the Defendants were to the Plaintiffs’ business, and in fact by their

orders to the Defendants, provided the Defendants with ample business.

6. Hence, the Plaintiffs and the Defendants entered into a pattern of business transactions,

which included certain agreements between the Plaintiffs and Defendants.

7. Over the course of time, the Plaintiffs eventually became very dependent upon the

Defendants for the provisions of their medications and supplies.

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8. Unfortunately, due to rivalries from competitor businesses with better connections to
the Alabama Board of Pharmacy (ALBoP) and due to misrepresentations of facts by certain
agents of ALBoP, the Plaintiffs were portrayed in an untrue, negative light, which caused

ALBoP to pursue legal actions against the Plaintiffs, resulting in various penalties.

9. The Plaintiffs however, appealed the ruling of ALBoP to the Circuit Court of
Montgomery County, Alabama, which issued a stay on December 1, 2016 of the adverse ruling
of ALBoP and supplemented its stay on January 5, 2017 (See copies of orders attached -

Exhibit A and B.)

10. Unfortunately, it also appears that a certain investigator of ALBoP encouraged a private
Montgomery attorney to solicit an elderly Montgomery resident, Sarah Tate, to be an alleged
class action plaintiff against the Plaintiffs. Said attorney called a news conference in October
2016 upon the October 2016 filing of the Sarah Tate lawsuit, alleging violation of HIPPA laws,
medical malpractice laws, and other legal wrongdoings. Ultimately, however, the Plaintiffs
filed a motion for summary judgment, which was granted in all aspects May 2017, resulting in

the dismissal of the entire Sarah Tate lawsuit.

11. Nonetheless, agents of the Defendants have cited the reported alleged HIPPA violations

and medical malpractice as reasons for ceasing business with the Plaintiffs.

12. Notwithstanding, the Plaintiffs made multiple efforts, personally by Demetrius Parks
and through legal representatives of the Plaintiffs, to reinstate their business relationship with

the Defendants.

13. In fact, on May 5, 2017, the Plaintiffs’ attorney, Julian McPhillips, wrote Mr. Myles

Hoover, Vice President of Marketing Product Management, Cardinal Health - Leadernet in

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Dublin, Ohio (See copy of letter attached - Exhibit C.) However, Mr. Hoover, representative of
the Defendants, responded that the Plaintiffs’ attempts to invoke the grievance procedure of
Section 24 of the Participation Agreement between Leadernet and Parks Pharmacy was futile
because said agreement does not apply to the termination of the agreement by Leadernet (See

copy of letter attached - Exhibit D.)

14. Hence, the Plaintiffs, for months, since November 2016 to the current date, June 2017,
have pursued numerous efforts by telephone, letter, email, and other means to informally

repair and reactivate their professional business relationship with the Defendants.

15. Plaintiffs aver that they had numerous business relationships with individual customers
that the Defendants have tortiously interfered with, via Defendants’ unilateral termination of

its provision of supplies to the Plaintiffs.

16. Plaintiffs also aver that they had numerous contractual relationships with insurance
companies through the Defendants, which Defendants have tortiously interfered with, by the

unilateral termination of its contracts and business relations with the Plaintiffs.

17. Plaintiffs also aver that the Defendants have tortiously interfered With their business
with individual customers and tortiously interfered with Plaintiffs’ managed care contract

through Leader Drug Stores, Inc.

18. Through its communications with the Defendants, Plaintiffs have well-articulated the
great damages the Defendants’ unilateral termination of contracts with the Plaintiffs has cost
the Plaintiffs by interfering with the Plaintiffs’ business relations with customers and contracts

alleged above.

IV. Causes of Action

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guam
Tortious Interference with Business Relationships

19. The Plaintiffs hereby, repeat, re-allege, and incorporate by reference the preceding

paragraphs of this complaint

20. The Defendants have, as more fully set forth above, tortiously interfered with Plaintiffs’

business relations with its individual customers as well as with its managed care contracts.

21. The Plaintiffs have been enormously damaged by Defendants’ tortious interference With
their business relations with their individual customers, and by defendants’ tortious
interference with their managed care contracts, and Plaintiffs have actually lost many of the

same due to the Defendants’ wrongful tortious interference

Prayer for Relief

Wherefore, premises considered, the Plaintiffs hereby request damages within the
current jurisdictional limits of this court in such an amount as a judge and jury deem

appropriate under the facts and circumstances of their case.

Count Two:
Tortious Interference with a Contract

22. The Plaintiffs hereby, repeat, re-allege, and incorporate by reference the preceding

paragraphs of the complaint

23. The Defendants have, as more fully set forth above, tortiously interfered with Plaintiffs’

contracts with its individual customers as well as with its managed care contracts.

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24. The Plaintiffs have been enormously damaged by Defendants’ tortious interference with
their contracts with their individual customers and managed care contracts, and have actually

lost many of the same due to the Defendants’ wrongful tortious interference

Prayer for Relief

Wherefore, premises considered, the Plaintiffs hereby request damages within the
current jurisdictional limits of this court in such an amount as a judge and jury deem

appropriate under the facts and circumstances of their case.

Count Three:
Breach of Contract

25. The Plaintiffs hereby, repeat, re-allege, and incorporate by reference the preceding

paragraphs of the complaint

26. Plaintiffs aver that they had certain agreements with the Defendants for provision by

Defendants of medications and supplies for individuals and managed care contracts.

27. Plaintiffs aver that Defendants unilaterally breached and terminated their contractual

agreement with the Plaintiffs without just cause.

28. Plaintiffs also aver that they attempted to pursue a grievance, as stated in Exhibit C and
D, but the Defendants rejected Plaintiffs’ attempts to reconcile and resolve their differences via
Section 24 of the Partnership Agreement between Defendant Leader Drug Stores, Inc. and

Plaintiff Parks Pharmacy.

29. As a proximate result of the breach, the Plaintiffs have been greatly and irreparably

damaged and injured as set forth in paragraphs 21 and 24.

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Prayer for Relief

WHEREFORE, PREMISES CONSIDERED, the Plaintiffs hereby request damages
within the current jurisdictional limits of this court in such an amount as a judge and jury

deem appropriate under the facts and circumstances of their case.

Respectfully submitted this 1~‘3t day of September, 2017.

Parks Pharmac Inc.
Demetrius Parks

 

Plaintiffs

   

 

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A jury trial is requested on all issues, so triable.

 

Julian L. McPhillips, Jr.

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